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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 In the Matter of the Federal Bureau of Prisons’
 Execution Protocol Cases,

 LEAD CASE: Roane et al. v. Barr

 THIS DOCUMENT RELATES TO:                                   Case No. 19-mc-0145 (TSC)

 Lee v. Barr, et al., 19-cv-2559

 Purkey v. Barr, et al., 19-cv-3214

 Nelson v. Barr, et al., 20-cv-557


                                   NOTICE OF CROSS-APPEAL

       Notice is hereby given this 15th day of July 2020, that Plaintiffs in this action, Dustin

Lee Honken, Keith Dwayne Nelson, and Wesley Ira Purkey, cross-appeal to the United States

Court of Appeals for the District of Columbia Circuit from the Order of this Court entered on

July 15, 2020, see ECF Nos. 145 (Memorandum Opinion) and 146 (Order), in which the Court

granted the Motion for Preliminary Injunction filed by Mr. Honken, Mr. Purkey, and Mr.

Nelson, and ordered that the “Defendants (along with their respective successors in office,

officers, agents, servants, employees, attorneys, and anyone acting in concert with them) are

enjoined from executing Plaintiffs Wesley Ira Purkey, Dustin Lee Honken, and Keith Dwayne

Nelson until further order of this court.” Order, ECF No. 146.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

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